                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
_____________________________________________________________________
THE DRAGONWOOD CONSERVANCY, INC.,
PLEGUAR CORPORATION,
TERRY CULLEN
                 Plaintiffs,
vs.                                     Case No: 16:cv:0534

PAUL FELICIAN
PHIL SIMMERT II
                 Defendants
__________________________________________________________________________

                             PLAINTIFFS’ MOTIONS IN LIMINE


     NOW COME PLAINTIFFS by their undersigned counsel, and respectfully submit their
MOTIONS IN LIMINE.



                                       Motion In Limine

       NOW COME PLAINTIFFS by undersigned counsel, and move this Court -in limine- for

the following trial orders pursuant to the Federal Rules of Evidence including §401-402

(relevance) and §403 (unduly prejudicial, confusing, waste of time, and other reasons); along

with other below-cited Federal Rules of Evidence:


       1.      Prohibiting any witness from testifying, whose identity and subject matter of

testimony has not been disclosed per this Court’s Orders, per FRCP 26, and per Plaintiffs’

Discovery Demands in this regard.

       2.      Prohibiting the introduction or reference to the underlying proceedings in the

Milwaukee County Circuit Court 2010CF2659, and/or to any other reference to any alleged

‘sexual assault’ (charged against Mr. Cullen in said Circuit Court proceedings); including any

evidence or reference to:


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          *Jennifer Rushing (alleged victim)
          *allegations of sexual assault
          *reference to “sensitive crimes”1
          *any criminal charges, process, and/or dispositions relating to sexual assault
          *pleas entered and disposition rendered, relating to charges of sexual assault
          *terms of deferred prosecution agreements; and
          *disposition thereof (including two ordinance violations);


          Including redaction of any reference to sexual assault in the search warrant documents -
          including supporting affidavit – prior to reference at trial and/or use as Exhibits herein.

          And specifically prohibiting defendants from claiming they relied upon the Circuit Court
          Orders when effecting a permanent deprivation upon Plaintiffs.


EXCEPT FOR EVIDENCE REGARDING CIRCUIT COURT PROCEEDINGS

          A.      relating to Mr. Cullen’s Petition For Return of Firearms;

          B.      reflecting that Mr. Cullen was not convicted of any crimes.


          3.      Prohibiting the introduction or reference to, any and all evidence preceding the

date and time of Defendant Simmert’s presentation of the application for search warrant to the

Court Commissioner – as this Court has found that the search warrant was supported by probable

cause (i.e., the evidentiary portion of this case should begin with Det. Simmert presenting his

application for search warrant, particularly in light of the various issues raised in the preceding

request)

          4.      Prohibiting highly prejudicial, editorial comments and opinions by law

enforcement, reflected in the discovery record including

          *“house of horrors”
          *“near” or actual “vomiting”
          *“hoarder”
          *shoveling a path of “dog feces” in the courtyard of 13th Street.



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    Amongst others: the Defendants cannot describe themselves as having been part of ‘sensitive crimes’.


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       5.      Prohibiting testimony or evidence about the amount of ammunition seized during

the execution of the Search Warrant.

       6.      Prohibiting testimony or evidence about law enforcement seizing ‘gynecology

books’ from Plaintiffs.

       7.      Prohibiting all testimony and evidence relating to alleged “prior bad acts” of

Plaintiffs’ Witness, Erik Katz, relating to a previous citation for animal-related offense.

FRE 404.

       8.      Prohibiting all testimony and evidence regarding the issue of required “permits”

as they may relate to Plaintiffs’ animal collection.

       9.      Prohibiting all testimony and evidence relating to the “legality” of Plaintiffs’

ownership herein, including whether it was previously litigated during the underlying Circuit

Court proceedings;

       10.     Prohibiting all testimony and evidence relating to Defendants’ claim that

Plaintiffs should have -but did not- avail themselves of Ch 173 or other state process, for the

return of property

       11.     Prohibiting all testimony and evidence relating to the Plaintiffs’ Tax returns

produced to Defendants, subject to and reserving objections.

       12.     Prohibiting the introduction or reference to, hearsay reports and improper expert

opinions, as to the health, husbandry, and/or condition of Plaintiffs’ animals upon seizure herein,

from any person or source lacking personal knowledge, and/or who has not been properly named

as an expert herein.




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       13.     Excluding and prohibiting Sean Perry’s testimony and ‘”Veterinary and Animal

Welfare Assessment” report (in the event it survives Plaintiffs’ “R702 Motion To Exclude Sean

Perry As Expert Witness”): this Court previously ruled that the Defendants had probable cause

to seize specific animals identified on the warrant (i.e., Chinese Alligators) and others, including

those they perceived as evidencing mistreatment. Therefore Perry’s testimony -that the animals

evidence mistreatment at the time of seizure- would be cumulative and would have little -if any-

probative value, in light of substantial prejudice [and would otherwise result in a mini trial on the

welfare protocols of at least fifty animals seized for that reason]. Also, please see “Plaintiffs’

Brief In Support Of R702 Motion To Exclude Sean Perry As Expert Witness” at p16, submitted

herewith.

       14.     Excluding and prohibiting any police video (DVD) not produced by Defendants.

       15.     Prohibiting the use of or reference to, the “Notice of Injury” dated September 8,

2010, by Attorney David Halbrooks.

       16.     Permitting the jury to answer all damages questions herein, irrespective of their

answers as to liability questions

       17.     Excluding witnesses so they cannot hear other witness’ testimony. FRE 615.

       18.     Prohibiting the Defendants or anyone on their behalf, from accessing law

enforcement databases to conduct background checks on any potential juror prior to the jury

being empanelled; including the use of CLEAR (Citizen Law Enforcement and Reporting) and

LEADS (Law Enforcement Agencies Data System) if applicable.




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AND PLAINTIFFS ALSO REQUEST ORDERS


           19.         Taking JUDICIAL NOTICE of any material findings of the Circuit Court,

           20.         Taking JUDICIAL NOTICE of the findings of Judge Jones based upon

undisputed evidence.

           21.         Authorizing the use of videotape deposition of Attorney Stephen Glynn (which

would exceed more than five pages) for good cause.

           22.         Allowing Plaintiffs to be collectively referred-to and reference herein.

           23.         Ordering and requiring Counsel to advise their witnesses of any restrictive or

limiting rulings of the Court on these Motions in limine, to avoid ‘accidental’ disclosure to the

jury (and issues of mistrial).




Respectfully submitted:
Dated: October 26, 2020
/s/ electronically signed by:

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